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THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

UNITED STATES OF AMERICA, § SECOND AMENDMENT TO
§ DECLARATION OF TAKING

Plaintiff,
vs.

3.17 ACRES OF LAND, MORE OR LESS,
SITUATED IN STARR COUNTY, TEXAS;
AND JUAN MONTALVO, ET AL.,

CASE NO. 7:08-cv-00177

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Defendants.

SECOND AMENDMENT TO DECLARATION OF TAKING

On June 21, 2008, this proceeding commenced with the filing of a Complaint and
Declaration of Taking in this Honorable Court in the name of the United States of America
(“United States”) for the acquisition of certain interests in lands identified as Tract RGV-
RGC-1005 (fee simple), now identified as Tracts RGV-RGC-1104 (fee simple), RGV-
RGC-1082 (fee simple), RGV-RGC-1081 (fee simple), RGV-RGC-1080 (fee simple),
RGV-RGC-1079 (fee simple), RGV-RGC-1078 (fee simple), and RGV-RGC-1077 (fee
simple), situated in Starr County, Texas. The Complaint and Declaration of Taking
included a twenty-four month temporary access easement, which is now expired, identified
as Tract RGV-RGC-1005E, now identified as Tracts RGV-RGC-1079E, RGV-RGC-
1078E and RGV-RGC-1077E, situate in Starr County, Texas.

On June 25, 2008, a deposit was made into the Registry of the Court by the United

States in the amount of $10,900.00 for estimated just compensation.

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On August 2, 2017, an Amendment to Complaint in Condemnation, Amendment
to Declaration of Taking and Amended Notice of Condemnation was filed.
It is now necessary to amend said Amendment to Declaration of Taking as follows:

a. To clarify the legal description of acquired fee Tracts RGV-RGC-1104,

RGV-RGC-1082, RGV-RGC-1081, RGV-RGC-1080, RGV-RGC-1078, and RGV-RGC-

1077;

b. To clarify the map for fee Tracts RGV-RGC-1104, RGV-RGC-1082, RGV-
RGC-1081, RGV-RGC-1080, RGV-RGC-1078, and RGV-RGC-1077;
NOW, THEREFORE, I, Loren Flossman, Acquisition Program Manager, Wall

Program Management Office, U.S. Border Patrol Program Management Office

Directorate, U.S. Border Patrol, U.S. Customs and Border Protection, Department of

Homeland Security, under the authority delegated to me by the Act of Congress approved

November 25, 2002, as Public Law 107-296, 116 Stat. 2311 and codified at 6 U.S.C. §§

202, 251, and 557, which transferred certain authorities of the Attorney General to the

Secretary of Homeland Security; and by DHS Delegation No. 7010.3(D(B), which

delegated land acquisition authority from the Secretary of Homeland Security to the

Commissioner of U.S. Customs and Border Protection; and by CBP. Delegation 18-200

which delegated land acquisition authority of $5 million dollars or less to the Acquisition

Program Manager, Wall Program Management Office, U.S. Border Patrol Program

Management Office Directorate, U.S. Border Patrol; do hereby amend said Declaration of

Taking and Amendment to Declaration of Taking, as listed above, to:

1. Substitute Schedule “CCC”, containing a clarified legal description of acquired

Tracts RGV-RGC-1104, RGV-RGC- 1082, RGV-RGC-1081, RGV-RGC-1080,

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RGV-RGC-1078, and RGV-RGC-1077, attached hereto and made a part hereof in
lieu of the legal description provided in Schedule “CC” of the Amendment to
Declaration of Taking for said tracts;

2. Substitute Schedule “DDD”, containing the map for acquired fee Tracts RGV-

RGC-1104, RGV-RGC-1082, RGV-RGC-1081, RGV-RGC-1080, RGV-RGC-

1078, and RGV-RGC-1077, attached hereto and made a part hereof in lieu of the

plats provided in Schedule “DD” of the Amendment to Declaration of Taking for

said tracts;

It is intended by this amendment that the aforesaid Amendment to Declaration of
Taking (as heretofore amended) is not changed, and is not intended to be changed, in any
respect except as hereinabove expressly set forth.

IN WITNESS WHEREOF, the undersigned, Acquisition Program Manager, Wall
Program Management Office, U.S. Border Patrol Program Management Office
Directorate, U.S. Border Patrol, U.S. Customs - Border Protection, Department of
Homeland Security, hereunto subscribes his name by direction of the Secretary of the
Department of Homeland Security, this 9th_ day of __ January_, 2019 ___ in the City of

Washington, District of Columbia.

Digitally signed by Loren Flossman

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Loren Flossman

Acquisition Program Manager

Wall Program Management Office

U.S. Border Patrol Program Management Office Directorate
U.S. Border Patrol

U.S. Customs and Border Protection

Department of Homeland Security

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